              Case 2:20-cv-00357-GEKP Document 4 Filed 02/13/20 Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ANTON PURISIMA, et al,
    Plaintiffs

         v.                                            CIVL ACTION NO. 20-CV-357

CITY OF PHILADELPHIA, et al,
     Defendants

                                          MEMORANDUM

PRATTER,J.                                                                 FEBRUARY/   J, 2020
         Plaintiff Anton Purisima, proceeding pro se, seeks leave to proceed in forma pauperis in

this this civil action commenced against individuals, corporate and governmental entities, and

numerous John Doe defendants. (ECF Nos. 1 and 2.) For the following reasons, the Court will

grant Mr. Purisima leave to proceed informa pauperis, dismiss his Complaint, and grant him

leave to file an amended complaint.

I.       FACTUAL ALLEGATIONS 1

         Mr. Purisima's Complaint appears to seek to assert a claim on behalf of both Mr.

Purisima and the United States of America against the City of Philadelphia, the People's

Republic of China, Michael Joseph Morrissey, Amtrak Rail Corporation, Richard Anderson and

one-thousand John Doe defendants. (ECF No. 2 at 1.)2 However, the Complaint asserts no facts.

Indeed, Mr. Purisima acknowledges the inadequacy of the current filing:

                  Note: Due to time limitation as well as emergency situation of pro
                  se Plaintiff# one Anton Purisima herein, this Complaint will be
                  continued to file an Amended Complaint as soon as possible.
                  Thank you.


1
  The facts set forth in this Memorandum are taken from Mr. Purisima's Complaint and the
attachments thereto.

2
    The Court adopts the pagination assigned by the CM-ECF docketing system.
          Case 2:20-cv-00357-GEKP Document 4 Filed 02/13/20 Page 2 of 5



(Id. at 2.) Attached to the Complaint, and allegedly "in support thereof," (id. at 3), are docket

entries from the recently terminated appeal from Mr. Purisima's earlier unsuccessful civil rights

action, filed in this Court as Purisima v. City ofPhiladelphia, Civ. A. No. 16-5628. Mr.

Purisima does not provide any other information as to the factual basis of the instant action, the

legal basis of the claim asserted, or the relief sought.

II.     STANDARD OF REVIEW

        The Court will grant Mr. Purisima leave to proceed in forma pauperis because it appears

that he is incapable of paying the fees to commence this civil action. Accordingly, 28 U.S.C. §

1915(e)(2)(B)(ii) applies, which requires the Court to dismiss the Complaint if it fails to state a

claim. Whether a complaint fails to state a claim under§ 1915(e)(2)(B)(ii) is governed by the

same standard applicable to motions to dismiss under Federal Rule of Civil Procedure 12(b)(6),

see Tourscher v. McCullough, 184 F.3d 236,240 (3d Cir. 1999), which requires the Court to

determine whether the complaint contains "sufficient factual matter, accepted as true, to state a

claim to relief that is plausible on its face." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quotations omitted). Conclusory allegations do not suffice. Id. Because Mr. Purisima is

proceeding prose, the Court construes his allegations liberally. Higgs v. Att'y Gen., 655 F.3d

333, 339 (3d Cir. 2011).

        When allowing a plaintiff to proceed in forma pauperis the Court must review the

pleadings and dismiss the matter if it determines, inter alia, that the action fails to set forth a

proper basis for this Court's subject matter jurisdiction. 28 U.S.C. § 1915(e)(2)(B); Fed. R. Civ.

P. 12(h)(3) ("If the court determines at any time that it lacks subject-matter jurisdiction, the court

must dismiss the action."); Group Against Smog and Pollution, Inc. v. Shenango, Inc., 810 F .3d

116, 122 n.6 (3d Cir. 2016) (explaining that "an objection to subject matter jurisdiction may be



                                                   2
           Case 2:20-cv-00357-GEKP Document 4 Filed 02/13/20 Page 3 of 5



raised at any time [and] a court may raise jurisdictional issues sua sponte"). A plaintiff

commencing an action in federal court bears the burden of establishing federal jurisdiction. See

Lincoln Ben. Life Co. v. AEI Life, LLC, 800 F.3d 99, 105 (3d Cir. 2015) ("The burden of

establishing federal jurisdiction rests with the party asserting its existence." (citing

DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342 n.3 (2006))).

        Moreover, Rule 8(a) of the Federal Rules of Civil Procedure requires a complaint to

contain "a short a plain statement of the claim showing that the pleader is entitled to relief." A

district court may sua sponte dismiss a complaint that does not comply with Rule 8 if "the

complaint is so confused, ambiguous, vague, or otherwise unintelligible that its true substance, if

any, is well disguised." Simmons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995) (quotations omitted).

This Court has noted that Rule 8 "requires that pleadings provide enough information to put a

defendant on sufficient notice to prepare their defense and also ensure that the Court is

sufficiently informed to determine the issue." Fabian v. St. Mary's Med. Ctr., Civ. A. No. 16-

4741, 2017 WL 3494219, at *3 (E.D. Pa. Aug. 11, 2017) (quotations omitted).

III.   DISCUSSION

       Mr. Purisima's Complaint offers no hint as to what the issues may be in this case and the

Court declines to speculate. In the absence of any facts establishing this Court's jurisdiction,

putting the named Defendants on notice as to the nature of the claims against them, or

"ensur[ing] that the Court is sufficiently informed to determine the issue," the Complaint must be

dismissed pursuant to§ 1915(e)(2)(B)(ii) for failure to state a claim. Because it cannot be stated

with certainty that Mr. Purisima cannot state a viable claim, the Court will grant him leave to file

an amended complaint.




                                                  3
          Case 2:20-cv-00357-GEKP Document 4 Filed 02/13/20 Page 4 of 5



        For purposes of amendment, the Court notes that, insofar as Mr. Purisima seeks to assert

a claim on behalf of the United States, he may not do so. Under 28 U.S.C. § 1654, parties "may

plead and conduct their own cases personally or by counsel" in the federal courts. Section 1654

thus ensures that a person may conduct his or her own case pro se or retain counsel to do so. See

Osei-Afriyie v. Med Coll. of Pa., 937 F.2d 876, 882 (3d Cir. 1991) ("The statutory right to

proceed pro se reflects a respect for the choice of an individual citizen to plead his or her own

cause." (quoting Cheung v. Youth Orchestra Found of Buffalo, Inc., 906 F.2d 59, 61 (2d Cir.

1990))). Although an individual may represent himself prose, a non-attorney may not represent

other parties in federal court. See Muurray on behalf ofPurnell v. Ciy ofPhiladelphia, 901 F.3d

169, 170 (3d Cir. 2018) ("Although an individual may represent herself or himself prose, a non-

attorney may not represent other parties in federal court."). This principle has been applied by

the Supreme Court, the United States Court of Appeals for the Third Circuit, and other courts in

various contexts. See, e.g., Rowland v. Cal. Men's Colony, 506 U.S. 194, 202 (1993)

(recognizing that corporations must be represented by counsel and that "save in a few aberrant

cases, the lower courts have uniformly held that 28 U.S.C. § 1654 ... does not allow

corporations, partnerships or associations to appear in federal court otherwise through a licensed

attorney" (footnote omitted)); Simon v. Hartford Life, Inc., 546 F.3d 661,667 (9th Cir. 2008)

(holding that a non-lawyer could not litigate pro se on behalf of an ERISA plan); Osei-Afriyie,

937 F.2d at 882 ("We hold that Osei-Afriyie, a non-lawyer appearing prose, was not entitled to

play the role of attorney for his children in federal court."); Phillips v. Tobin, 548 F.2d 408, 411-

12 (2d Cir. 1976) (holding that a non-attorney could not appear prose to conduct a shareholder's

derivative suit). Further, in the event that Mr. Purisima is seeking to pursue a qui tam action on

behalf of the United States, he may not do so. Gunn v. Credit Suisse Group AG, 610 F. App'x



                                                  4
         Case 2:20-cv-00357-GEKP Document 4 Filed 02/13/20 Page 5 of 5



155, 157 (3d Cir. 2015) (citations omitted). Accordingly, Mr. Purisima may not pursue litigation

on behalf of the United States and the Court will dismiss any claims brought on its behalf.

IV.    CONCLUSION

       For the foregoing reasons, the Court will grant Mr. Purisima leave to proceed informa

pauperis and dismiss his Complaint without prejudice pursuant to 28 U.S.C. § 1915(e)(2(B)(ii)

for failure to comply with Rule 8 and failure to state a claim. Mr. Purisima will be permitted to

file an amended complaint to attempt to cure the defects noted above. See Grayson v. Mayview

State Hosp., 293 F.3d 103, 114 (3d Cir. 2002). An appropriate Order follows.




                                                5
